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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 KEMARI AVERETT                               )
                       Plaintiff              )
                                              )
                                              )       Civil Action No. 3:19-CV-116-CHB
 v.                                           )
                                              )
                                              )
 UNIVERSITY OF LOUISVILLE, et al.             )
                                              )
                       Defendants             )
                                              )

           PLAINTIFF’S REPLY TO DESTINEE COLEMAN’S RESPONSE TO
                 PLAINTIFF’S FOURTH AMENDED COMPLAINT
                ________________________________________________


        Comes Plaintiff, by counsel, and states in reply to Defendant Destinee Coleman’s

 Response In Opposition To Plaintiff’s Fourth Amended Complaint, as follows:

        It is more than interesting that counsel for Coleman seems to take offense at Averett’s

 determination to restore his good name and salvage his college education and pursue a livelihood

 through his God-given talent to play professional football. The petulant reaction of counsel for

 Coleman and his assault on Averett’s character do not obscure Coleman’s mendacity and vicious

 determination to destroy him, and not only because he rejected her aggressive and shameless

 pursuit for sex, but that he preferred and had a baby by a young white woman.

        Instead of abating, her viciousness intensified when the Jefferson County Grand Jury,

 despite the vigorous efforts of a seasoned prosecutor and veteran detective, refused to give

 credence to her unconscionable, preposterous, and vulgar concoction, driving her, as a last resort,

 with the misguided assistance of unknown counsel, to corrupt the purpose of the law to protect

 honest women with legitimate complaints from domestic violence. It is not insignificant that in
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 her petition, she admits that Averett was merely an acquaintance of hers (See Exhibit attached to

 Complaint).

        Coleman and her counsel make a mockery of the statute. It was prompted by the sad and

 tragic case of Amanda Ross, the ex-fiancé of former Governor Louie Nunn’s son, Steve Nunn

 who stalked and killed her. Former Speaker of the Kentucky House of Representative and

 Attorney General, Greg Stumbo spearheaded the legislation, which became known as

 “Amanda’s Law.” Coleman and her counsel’s furtive conduct degrade Amanda’s name and the

 purpose of the law. They conceal from the court that, to the surprise of Averett’s counsel, they

 laid in wait for Averett to appear in District Court on June 4, 2019 to show proof that he had

 satisfied the court’s order regarding the “save-face disposition” for the prosecutor in the

 unrelated case that had been thrown out. Obviously, Coleman’s counsel was not aware that

 Averett did not have to personally appear or was expected to appear. It was at that time that he

 and the undersigned became aware of the shenanigans of Coleman and her counsel. It is

 slanderous, despicable, and outrageous that Coleman, having never been threatened, stalked, put

 in danger in any manner, would manipulate the court system the way she has. But then, what

 should one expect from such a person.


 I.     Statement of the Facts

        On August 4, 2018, Destinee Coleman, who for a period of several weeks before had

 engaged in casual sex with Kemari Averett, a gifted football player, who had cut off relations

 with her, seized the opportunity to crawl into his bed at approximately 5:00 a.m. when she,

 meddling in his social media conversations with fellow football players and his brother,

 discovered that he had experienced a bad day of practice and was angered and sad. She, either

 offering or acquiescing, to coming and cuddling with him after she got off work at UPS,
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 informing him that she first needed to go home and bathe and fix herself up. She let herself into

 his apartment, which he had left unlocked and gone to bed. She crawled into his bed, aware that

 he was completely unclothed and began to cuddle him while he was asleep. When she awakened

 him and he reciprocated to her cuddling and responded, as any man would and as she expected,

 and began to remove her panties, she exclaimed that she was “dry,” to which he responded, “I’ll

 make it wet with my fingers.” After he had satisfied her, instead of asking him how he was

 feeling psychologically, having used as a pretext to get into his bed that his social media

 conversations reminded her of her bouts with suicide, she asked him if he had that white girl

 pregnant (emphasis added). Despite having denied it prior to having sex, he admitted to it after

 they had sex. An argument ensued and he told her that she could leave his apartment. She left

 and promptly had a rape test done and let the sexual activities lie dormant until initiating the

 charge of rape several weeks later. Sometime thereafter, the Kafkaesque Star Chamber Student

 Code proceeding took place, prompting this lawsuit.

        As Plaintiff’s proposed Fourth Amended Complaint asserts, with the advice and apparent

 assistance of unknown counsel, Coleman petitioned Jefferson District Court to award her an

 order of protection. She admitted in the petition that she and Averett had dated but that they

 were no more than acquaintances. She made no allegations of threat or harm to her apart from

 her manufactured, libelous, and slanderous claim of rape. Her attorney falsely and recklessly

 asserts to this court, without even a scintilla of proof, that Averett avoided service of the

 summons. He, the apparently unknown counsel, knew or should have known that Averett had

 left Kentucky. They, and apparently along with others, apparently thought he had returned to

 Atlanta because they had Georgia authorities trying to serve him with the Interpersonal

 Protective Order (IPO).
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         It must be noted that she states in the Petition that she had no fear of him and that she had

 no thought of fear until she heard that he had put a gun (sic) to some girl’s head. Lest this Court

 be misled, that false accusation, which received national and persistent coverage, was held for

 naught and dismissed with prejudice.


 II.     ARGUMENT

         It is respectfully submitted that counsel opposite’s prolix brief is full of sound and fury

 meaning nothing. For example, he curiously asserts that Averett does not articulate theories

 supporting his motion to amend. He makes the curious suggestion that the brevity of Averett’s

 claims makes them untenable and futile (Defendant’s brief at 3). He ignores the fact, and takes

 out of context his cited authorities, that it is the substance of one’s claims and not the bulk, as it

 were, that matters. More importantly, he seems to discount or is oblivious to the metaphysical

 and ontological reality that one acts, moves, and responds to things when they come to one’s

 attention.   As pointed out above, Averett did not become aware of the farcical IPO until June

 2019.    Likewise, he did not become aware of the University’s scandalous and disparate

 application of its Student Code of Conduct toward the other football players until someone close

 to the University brought it to his attention. Counsel opposite’s argument that the claims are

 untimely is lacking in substance and is nothing but a red herring.

         The Defendants’ argument that the proposed amendments are futile are equally porous.

 Abuse of process is the “irregular or wrongful employment of a judicial proceeding” which

 requires two additional elements: 1) An ulterior purpose, and 2) a willful act in the use of the

 process not proper in the regular conduct of the proceeding. Barrios v. Elmore, No. 3:18-cv-

 132-DJH-RSE, 2018 WL 3636576, at *7 (W.D. Ky. July 31, 2018) (emphasis added) (citing
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 Murphy v. Bruner, No. 5:17-CV-376-KKC, 2018 WL 2392510 at *5 (E.D. Ky, May 25, 2018)

 (quoting SpiritCommc’ns Co. v. Leggett, 307 S.W.3d 109, 114 (Ky. 2010).

        Pursuant to KRS 456.030: Petition for interpersonal protective order, an alleged victim

 of dating violence or abuse or other alleged victim of sexual assault files a petition on a form

 prescribed by the court which will be filed with the court(District Court and Circuit Court have

 concurrent jurisdiction) KRS 456.030 (4) (5) and (6). Therefore, the tort for abuse of process

 applies to KRS 456.030 since they involve judicial proceedings. The other two elements are

 involved in this case:

        B. Element One: Ulterior Motive for using the judicial process. Except on the issue of

 punitive damages, the “malice” element of abuse of process concerns using the court process for

 some other improper purpose other than for which the process was intended. Bourbon County

 Joint Planning Com ‘n v. Sipson, 799 S.W.2d 42, 45 (Ky. Ct. App. 1990); Raine v. Drasin, Ky.

 621 S.W.2d 895 (1981). The core issue is the defendant’s motive for using the process, not any

 statements during the judicial proceedings. Halle v. Banner Industries of N.E., In, 453 S.W.3d

 179 (Ky. Ct. App. 2014)

        As the proposed Amended Complaint alleges, Coleman’s motivation for filing the

 petition had nothing to do with alleged dating violence, but instead to obstruct Averett’s efforts

 to obtain a college education and future career as a professional football player, all because he

 was dating a white female who was pregnant with his child.

       C. Element Two: Willful act in the use of the process not proper in the regular
 conduct of the proceeding.

        Malice, ill will, or ulterior purpose in filing petition is not enough. The defendant must

 have misused or misapplied the judicial process to an end other than that for which it was

 designed to accomplish. See W. Prosser and Keeton, Handbook on the Law of Torts at pp. 876-
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 877 (3d ed), § 115 and § 121 (4th ed.); see also Simpson, Executrix for Estate of Adair; et al. v.

 Laytart, 962 S.W.2d 392 (1998); Mullins v. Richards, Ky. App., 705 S.W.2d 951 (1986); Flynn

 v. Songer, 399 S.W.2d 491 (Ky. 1960).

        The facts alleged in the proposed Complaint present an ulterior motive for filing the

 Petition for Order of Protection. Coleman’s sexual assault/rape allegations were shown to be

 baseless as the Commonwealth’s Attorney, Tom Wine, a former Circuit Court judge and Court

 of Appeals judge, could not get a grand jury to indict Averett. It is not farfetched that Coleman

 wanted to use the proceedings to persuade Averett to give up his girlfriend to be with her.

        Accordingly, the Motion to Amend should be granted.



                                                             Respectfully Submitted,



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                                  CERTIFICATE OF SERVICE

        It is hereby certified that on July 11, 2019, the foregoing Fourth Amended Complaint was

 filed with the Clerk of this Court via the Court’s CM/ECF electronic filing system, which will

 send notice of filing on even date to the individuals listed below:

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 Hon. Matthew Barszcz
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                                                                       / s/ Aubrey Williams
